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 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11
12   THE GUIDIVILLE RANCHERIA OF                   Case No. CV 12-1326 YGR
     CALIFORNIA, et al.,
13                                                [PROPOSED] AMENDED
                                                  JUDGMENT
14               Plaintiffs,
15         vs.
16
     THE UNITED STATES OF AMERICA, et al.,
17
18               Defendants.

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28
     Case No. CV 12-1326-YGR
     [PROPOSED] AMENDED JUDGMENT
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 1           In March 2012, plaintiffs Guidiville Rancheria of California (Tribe) and Upstream Point

 2   Molate LLC (Upstream) (together, Plaintiffs) commenced the above-captioned action (Action)

 3   against defendant City of Richmond (City). The controversy concerns a Land Disposition

 4   Agreement (LDA) and its amendments, between Upstream and the City, the subject of which was

 5   a proposed development of property located at the fonner Navy Fuel Depot Point Molate in

 6   Richmond, California.

 7           Following the signing of the LDA in 2004 and in accordance with the California

 8   Environmental Quality Act (CEQA), the Court finds that the City conducted a multi-year review

 9   of potential environmental impacts resulting from several proposed projects, including a project

10   with residential units. 1 In 2011, the City certified a final enviromnental impact report (EIR) for

11   potential projects at Point Molate. No party challenged the EIR.

12           In this Action, Plaintiffs allege, inter alia, that the City breached the LDA; the City denies

13   Plaintiffs' claims.

14           In accordance with the stipulated request of the Parties, and good cause appearing,

15           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

16           1.      Under 28 U.S.C. §§ 1331 and 1362, the Court has jurisdiction over the Action and

17   shall retain such jurisdiction to enforce this Judgment.

18           2.      The Court expressly finds and determines that the terms of this Judgment are fair,

19   reasonable and in the public interest.

20                                              DEFINITIONS

21           3.      "Judgment" shall mean this Amended Judgment, the Judgment dated April 12,

22   2018, and all exhibits attached thereto.

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             1 The project with residential units analyzed in the 2011 Certified EIR is consistent with
26   the City's previously approved Point Molate Reuse Plan, which the City adopted to comply with
     the terms of the transfer of Point Molate from the U.S. Navy to the City. The Reuse Plan
27   expressly contemplates 670 residential units at Point Molate and Alternative D of the Certified
     2011 EIR analyzed a project with more than 670 residential units.
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 1          4.       "Point Molate" or the "Property" shall mean the approximately 270 acres of

 2   upland and 134 acres 2 of tidal and submerged real prope11y that was transferred to the City by the

 3   United States Navy in or around September 2003, and the "Remainder Property" transferred to

 4   the City by the Navy in or around September 2009.

 5           5.      "Development Areas" shall mean the four development areas shown on Figure 6,

 6   Land Use Areas, Point Molate Reuse Plan (attached as Exhibit A) or any parcel subsequently

 7   designated or subdivided from those four Development Areas subject to the provisions of

 8   Paragraph 20.

 9           6.      "Point Molate Reuse Plan" shall mean the Reuse Plan prepared by a 45-member

10   Blue Ribbon Advisory Committee in or around March 1997, and adopted by the Richmond City

11   Council in 1997. In 2002, the U.S. Navy published a "Record of Decision for Disposal and Reuse

12   of the Fleet Industrial Supply Center, Naval Fuel Depot, Point Molate, CA" (67 Fed. Reg. 41967,

13   June 20, 2002) based on the Point Molate Reuse Plan, which included residential use as one of

14   three alternatives. A complete copy of the Point Molate Reuse Plan is attached as Exhibit B and

15   it is also available on the City's website at

16   https://www.ci.richmond.ca.us/DocumentCenter/Home/View/7510. The City shall maintain a

17   hard copy of the Point Mo late Reuse Plan for review by the public.

18          7.       "Certified EIR" shall mean the final Environmental Impact Report certified by the

19   City on or about March 8, 2011, which can be located at

20   http://wwvv.ci.richmond.ca.us/1863/Point-Molate-Resort-and-Casino, and any and all errata,

21   addenda or other modifications thereto, and as the same may be amended, supplemented or

22   updated. The City shall maintain a hard copy of the Certified EIR for review by the public.

23           8.      "Discretionary City Approvals" shall mean all discretionary approvals made by the

24   City necessary to entitle development and construction of the Development Areas. The

25   Discretionary City Approvals shall allow for a minimum of 670 residential units and further the

26
             2 Any variation of the total acreage shall not alter the Parties obligations regarding the
27   Property, which the Parties understand to mean the total land transferred from the Navy to the
     City in 2003 and 2009.
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 1   goals of the Point Mo late Reuse Plan, including preservation of open space and rehabilitation of

 2   the Core Historic District (including Building 6). Those 670 residential units must comply with

 3   the requirements of the City's inclusionary housing ordinance in effect at this time. That

 4   compliance can be met either by (i) providing within the City the percentage of below market

 5   units presently specified in section 15.04.810.063 of the City's Municipal Code or (ii) paying an

 6   in-lieu fee, which must equal the amounts presently applied to residential projects within the City.

 7   Discretionary City Approvals includes any additional review and actions required under CEQA,

 8   zoning changes, and general plan amendments, but excludes (1) design review permits and

 9   certificates of appropriateness by the City; (2) ministerial permits provided by the City; and (3)

10   other approvals or permits provided by any entity other than the City, such as the United States

11   government, State of California, or regional agencies, such as the Bay Conservation Development

12   Commission and the Regional Water Quality Control Board. The City shall diligently process

13   any required design review permits and certificates of appropriateness and ministerial permits to

14   be provided by the City; and City shall also diligently process and cooperate with all requests for

15   information that might be required for any other approvals or permits provided by any entity

16   other than the City, such as the United States government, State of California, or regional

17   agencies, such as the Bay Conservation Development Commission and the Regional Water

18   Quality Control Board.

19          9.      "Effective Date" shall mean the date this Judgment is entered by the Court.

20          10.     "Revenues" shall mean all amounts received or earned by City or Plaintiffs from

21   the sale or development or long-term leasing (more than one (1) year) of any portion of the

22   Development Areas, including, without limitation, any amounts received for (i) exclusive rights

23   to negotiate, (ii) any purchase monies or purchase deposits paid, (iii) any option payments, (iv)

24   any amounts paid pursuant to a services agreement or any similar one-time payment, or recurring

25   payments made to City or Plaintiffs by the purchaser(s), developer(s), builder(s) or any

26   subsequent owner of any portion of the Development Areas or (v) any reimbursement for costs or

27   expenses incurred pursuant to Paragraph 24. "Revenues" does not include grants,

28   reimbursements paid to the City or to Plaintiffs by a third paity (e.g., developer) for costs incurred
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 1   in the pre-development phase other than costs incurred under Paragraph 24, short-term rental/use

 2   fees collected by the City prior to the sale of the Development Areas, property taxes or other

 3   taxes paid to the City and proceeds received from a financing district.

 4            11.   "Customary Fees" means fees paid to City for permits or similar customary

 5   administrative fees, cost-recovery fees, development fees and/or impact fees (e.g., traffic, school

 6   and in-lieu housing impact fees) in amounts routinely charged and similarly collected by the City

 7   on other projects.

 8            12.   "Sale" or "Sold" or "Sell" or any similar term relating to the sale of the property

 9   that is the subject of this Judgment, shall mean close of escrow upon which purchase monies are

10   paid to City or Plaintiffs in exchange for which title to the portion of the property being sold in

11   that transaction is simultaneously transferred to the buyer(s). The terms "Sale" or "Sold" or

12   "Sell" shall also include execution of a contract or agreement to sell any portion of the

13   Development Areas so long as the sale of a substantial portion of any one of the Development

14   Areas is closed and title transferred within 48 months of the Effective Date, with the

15   understanding that such contracts/agreements are to facilitate phased developments and must

16   remain in effect until the final parcel of the Development Area at issue is sold.

17            13.   "Entitlement Costs" shall mean all costs incurred after the Effective Date, which

18   directly concern the issuance of entitlements and compliance with CEQA, including, without

19   limitation, the preparation of environmental review documents and costs similar to those

20   Plaintiffs previously paid prior to completion of the Certified EIR. The City is responsible for

21   Entitlement Costs and related legal fees.

22            14.   "Pre-Development Costs" shall mean other costs incurred after the Effective Date,

23   such as surveying and engineering consulting fees, and other costs associated with creating

24   parcels, escrow fees, and title fees, and legal fees related to the disposition of the property,

25   including, but not limited to, legal counsel for preparing and reviewing contracts and agreements,

26   parcel maps, and subdividing and surveying the property.

27            15.   "Net Revenue" shall mean Revenues less Customary Fees and Pre-Development

28   Costs.
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 1                                   COMPLIANCE REQUIREMENTS

 2           16.      Within 6 months from the Effective Date, in accordance with CEQA and other

 3   applicable law, City shall consider Discretionary City Approvals, as defined in Paragraph 8 of

 4   this Judgment.

 5           17.      The Court anticipates and expects that City will receive and consider input from

 6   the public with respect to the future development of Point Molate. Nothing herein shall prohibit

 7   or limit the City from holding public workshops or receiving any other public input with respect

 8   to any future development considered by City pursuant to this Judgment, including selection of a

 9   master developer or developers.

10           18.      Of the approximately 270 acres of upland area, the Point Molate Reuse Plan

11   designates approximately 30% as Development Areas and 70% as open space, the ratio of which

12   shall not change. In the Core Historic District (including Building 6), there are 374,572 square

13   feet of contributing structures (based on the list in Table 3.6-1 and Figure 3.6-6 from the Certified

14   EIR), all of which shall be preserved for adaptive reuse.

15           19.      City may utilize the existing Certified BIR and prior studies pertaining to the

16   Property to the extent possible to comply with CEQA.

17          20.       The Discretionary City Approvals may adjust lot lines as allowed and analyzed

18   under the Ce1tified BIR, or otherwise to allow for construction of the residential units on different

19   portions of the Prope1iy than is set forth in the Point Mo late Reuse Plan and may allow for more

20   than 670 residential units and non-residential use, insofar as this is consistent with the overall

21   open space preservation goals of the Point Mo late Reuse Plan.

22          21.       Within 30 months of the Effective Date or 24 months of the City issuing the last

23   Discretionary City Approval, whichever occurs earlier, City must market the Development Areas

24   for sale to one or more qualified developer(s) or builder(s) using commercially reasonable efforts.

25   At the City's discretion, separate portions of the Development Areas may be sold to different

26   developers or builders to increase the sales price derived from the sale of the Development Areas.

27   With the consent of the Pmiies, which consent must be made by a writing signed by all Pmiies,

28   Development Areas or parcels may be leased long term instead of being sold. Prior to the Sale of
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 1   the Development Areas, either Party may elect to have an independent, third-party that is selected

 2   jointly by the Parties verify that the subject Sale is fair and reasonable and the product of an arms-

 3   length negotiation, and such verification shall be a condition precedent to completion of such

 4   Sale. The Parties shall share evenly the costs associated with any such verification.

 5          22.     Plaintiffs Tribe and Upstream, on the one hand, and City, on the other hand, will

 6   split all Net Revenues 50/50.

 7          23.     Within thirty (30) days of receiving any Revenues, City shall notify Upstream and

 8   the Tribe of the amount and source of such Revenues. Within sixty (60) days of receiving any

 9   Revenues, City shall distribute 50% of any Net Revenues via wire transfer into a banking account

10   to be designated by Plaintiffs in writing within thirty (30) days of the Effective Date, or as may be

11   designated in writing thereafter by Plaintiffs.

12          24.     City shall bear all expenses of maintaining and securing the Property, until the

13   Development Areas are sold to a third patty.

14          25.     If the Northern Development Area, Southern Development Area, Central
15   Development Area, or any portions thereof, are not Sold within 30 months of the Effective Date

16   or 24 months of City approving the last Discretionary City Approval, whichever occurs first

17   ("City Sale Deadline"), Plaintiffs or either of them as designated by Upstream and the Tribe in

18   writing, shall have the option to buy such Development Area( s) or portions thereof for a purchase

19   price of $100 per Development Area or portion thereof. Plaintiffs' option to purchase the

20   Development Area shall include up to fifty percent of the land-side portion of the shoreline knoll

21   referenced in the Certified EIR. Promptly after Plaintiffs, or either them, exercise the option

22   granted herein, City shall be obligated to forthwith sell the parcels identified in the exercise of the

23   option, or portions thereof, to Plaintiffs, or either of them. Within thirty (30) days of the Effective

24   Date, City shall cause a memorandum of this Judgment to be recorded on title to the Property,

25   which shall reference the above-referenced option of Upstream and Tribe.

26          26.     For each parcel of the Development Area or portion thereof sold to Plaintiffs, upon

27   a sale by either of them of such parcel(s), Plaintiffs shall pay to the City fifty percent (50%) of the

28   Net Revenues received by Plaintiffs. Plaintiffs must sell any Development Area or portion
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 1   thereof purchased pursuant to this Judgment within 5 years of the City's Sale Deadline or 4 years

 2   after the City makes a decision on any additional, discretionary City entitlements concerning any

 3   purchased portions, whichever is later, otherwise the Development Area(s) or portion(s) thereof

 4   revert back to the City, and the City shall pay Plaintiffs $100 for each Development Area or

 5   portion thereof. 3 If the City takes back property under this Paragraph, the Revenue sharing

 6   described in Paragraph 22 will still apply, and the City will have an on-going obligation to market

 7   and sell the remaining unsold portions of the Development Areas.

 8          27.      Within thirty (30) days of receiving any Revenue, Plaintiffs shall notify the City of

 9   the amount and source of such Revenue. Within sixty (60) days of receiving any Revenues,

10   Plaintiffs shall distribute 50% of Net Revenue received by Plaintiffs to the City via wire transfer

11   into a banking account to be designated in writing by the City.

12             28.   Upstream and Tribe, or either of them as designated by Upstream and the Tribe in

13   writing, and any of their transferees, may pursue development of the parcels in accordance with

14   the Discretionary City Approvals, or may seek additional or new entitlements for the

15   development of the parcels beyond the Discretionary City Approvals required by this Judgment

16   that City may or may not grant in its sole discretion. The Parties, and each of them, acknowledge

17   the Tribe, commencing in 2004 and ending in 2012, maintained an office in Building 123 at Point

18   Molate.

19                                   REPORTING REQUIREMENTS

20             29.   Absent further order from the Court, the Parties shall provide a joint update to the

21   Court every 120 days regarding effo11s to comply with the Judgment.

22             30.   Within 30 days of a request made by Plaintiffs, or either of them, the City must

23   provide Upstream and Tribe a copy of any contracts, agreements or other documents providing

24

25           3 For purposes of paragraph 26, discretionary City entitlements include any additional

     review and actions required under CEQA, zoning changes, and general plan amendments but
26   excludes (1) design review permits and certificates of appropriateness by the City; (2) ministerial
     permits provided by the City; and (3) other approvals or permits provided by any entity other than
27   the City, such as the United States government, State of California, or regional agencies, such as
     the Bay Conservation Development Commission and the Regional Water Quality Control Board.
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 1   for payment of Revenue to City with respect to any portion of the Property that is the subject of

 2   this Judgment.

 3          31.       The City must provide Plaintiffs a copy of any agreements the City executes for

 4   sale of any portion of the Property, including the Development Areas, within fifteen ( 15) days of

 5   the City Council's approval of such agreement(s).

 6          32.       The reporting requirements of this Judgment do not relieve City of any reporting

 7   obligations required by any other federal, state or local law, regulation, permit or other

 8   requirement.

 9          33.       Notwithstanding the foregoing, Upstream and Tribe may use and disclose any

10   information provided pursuant to this Judgment in any proceeding to enforce the provisions of

11   this Judgment and as otherwise permitted by law.

12                                          AUDITING OPTION

13          34.       The City shall keep accurate and complete accounting records of all transactions

14   relating to the maintenance, entitlement, development, sale of, or receipt of funds relating to the

15   Property, including, without limitation, any records of Revenues or other monies paid to or

16   received by City relating to the Property, all accounting records, invoices, ledgers, cancelled

17   checks, deposit slips, bank statements, original estimates, estimating work sheets, contracts or

18   contract amendments, change order files, insurance documents, memoranda and correspondence.

19   City shall establish and maintain a reasonable accounting system that enables City to readily

20   identify City's costs, expenses, Revenues, and other monies paid to or received by City relating to

21   the Property.

22          35.       Upon no less than 30 days' written notice, and no more than once a year during the

23   first five years after the Effective Date, Upstream and Tribe and their authorized representatives

24   may audit, examine and make copies of City's records kept by or under City's control relating to

25   its perfonnance under this Judgment, including, without limitation, records of all Revenues or

26   other monies paid to, received by, or committed to City relating to sale or development of the

27   Property. If an audit is requested, City, at Plaintiffs' expense, shall make its records available for

28   examination and copying during regular business hours at City's offices or another location as
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 1   mutually agreed by the Parties. Excluded from any audit are records protected by federal, state,

 2   and local privilege laws, including any records that would fall under exemptions set forth in the

 3   California Public Records Act.

 4          36.     Costs of any audits conducted under the authority of this right to audit will be

 5   borne by Upstream and Tribe unless the audit identifies City's failure to disburse more than

 6   $50,000 owed to Upstream and Tribe hereunder, in which case City shall reimburse Upstream

 7   and Tribe for the costs of the audit.

 8                         COMPLIANCE WITH CEQA AND OTHER LAWS

 9           37.    The Parties acknowledge, and the Court expressly finds and orders, that this

10   Judgment is not an approval of a project, and the City is responsible for compliance with all

11   federal, state and local laws, regulations, and permits, relating to the Property, including

12   compliance with CEQA. This finding and order may be asserted by the Parties as a bar to any

13   suit challenging the validity of this Judgment.

14          38.     The Parties agree that the Judgment does not grant any entitlements for

15   development at Point Molate, and that the City acknowledges it is required to comply with all

16   laws, statutes, or regulations, including compliance with CEQA, applicable to any future specific

17   entitlements or development at Point Molate that the City may consider.

18                                                RELEASE

19          39.     Upon entry of this Judgment, Plaintiffs, and each of their respective executors,

20   representatives, heirs, successors, assigns, bankruptcy trustees, guardians, and all those who claim

21   through them or who assert claims on their behalf, will be deemed to have completely released

22   and forever discharged City from any claim, right, demand, charge, complaint, action, cause of

23   action, obligation, or liability of any and every kind, based on an alleged violation of the LDA or

24   its amendments, in connection with the sale and/or development of Point Molate, and all claims

25   for monetary, equitable, declaratory, injunctive, or any other form of relief, whether known or

26   unknown, suspected or unsuspected, under the law of any jurisdiction, which Plaintiffs ever had

27   or now have, resulting from, arising out of, or in any way, directly or indirectly, connected with

28   the claims raised in the Action or in the California state court action entitled The City of
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 1   Richmond v. Upstream Point Molate, LLC, filed in Contra Costa County Superior Court, Case

 2   No. Cl 1-01834 ("State Court Action"), or claims which could have been raised in the Action or

 3   State Court Action based on or relating to the same facts.

 4          40.     Upon entry of this Judgment, City, and all those who claim through City or who

 5   assert claims on behalf of City, will be deemed to have completely released and forever

 6   discharged Plaintiffs, and each of their respective executors, representatives, heirs, successors,

 7   assigns, bankruptcy trustees, guardians, and all those who claim through them or who assert

 8   claims on their behalf, from any claim, right, demand, charge, complaint, action, cause of action,

 9   obligation, or liability of any and every kind, based on an alleged violation of the LDA or its

10   amendments, in connection with the sale and/or development of Point Mo late, and all claims for

11   monetary, equitable, declaratory, injunctive, or any other form of relief, whether known or

12   unknown, suspected or unsuspected, under the law of any jurisdiction, which the City ever had or

13   now has, resulting from, arising out of, or in any way, directly or indirectly, connected with the

14   claims raised in the Action or in the State Court Action, or claims which could have been raised

15   in the Action or State Court Action based on or relating to the same facts.

16          41.     As of the Effective Date, all claims asserted in this Action shall be and hereby are

17   dismissed with prejudice. The Parties further agree that they will dismiss with prejudice the

18   claims asserted in the State Court Action.

19          42.     The Parties, and each of them, each waive and release any and all provisions,

20   rights, and benefits conferred either (a) by section 1542 of the California Civil Code, or (b) by

21   any law of any state or territory of the United States, or principle of common law, which is

22   similar, comparable, or equivalent to section 1542 of the California Civil Code, with respect to

23   the claims released pursuant to Section 4.1. Section 1542 of the California Civil Code reads:

24          Section 1542. General Release, extent. A general release does not extend to

25          claims which the creditor does not know or suspect to exist in his favor at the time

26          of executing the release, which if known by him must have materially affected his

27          settlement with the debtor.

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 1          The Parties, and each of them, may hereafter discover facts other than or different from

 2   those that they know or believe to be true with respect to the subject matter of the claims released

 3   pursuant to the terms of this Judgment, but the Parties, and each of them, expressly agree that,

 4   upon entry of the Judgment, they shall have waived and fully, finally, and forever settled and

 5   released any known or unknown, suspected or unsuspected, asserted or unasserted, contingent or

 6   non-contingent claim with respect to the claims released, whether or not concealed or hidden,

 7   without regard to subsequent discovery or existence of such different or additional facts.

 8          43.     The Parties shall bear their own costs of this action, including attorneys' fees,

 9   except that the prevailing party in any action or proceeding to enforce the terms of this Judgment

10   shall be entitled to recover, from the non-prevailing party, all reasonable costs, including

11   reasonable attorney's fees.

12          44.     Nothing in this Judgment is intended to limit or expand the Tribe's right to

13   continue to pursue its claims asserted in this Action against the Federal Defendants, which

14   expressly are not resolved herein, or to pursue any lands be taken into trust by the United States

15   for the benefit of the Tribe, for any lawful purposes. The Tribe will request to license City-owned

16   or City-controlled property for Tribe use and the City will process that request in the normal

17   course, in the same manner as other such requests are processed.

18                                                NOTICES

19          45.     Unless otherwise specified in this Judgment, whenever notifications, submissions,

20   or communications are required by this Judgment, they shall be made in writing and addressed as

21   follows:

22          As to Upstream by email:               Jim.Levine@upstream.us.com; and
                                                   garet@okeefelaw.com
23

24          As to Upstream by mail:                Jim Levine
                                                   Upstream Point Molate LLC
25                                                 2000 Powell Street, Suite 920
                                                   Emeryville, CA 94608
26                                                 (510) 350-4101
                                           and
27                                                 Garet D. O'Keefe
                                                   0' Keefe & 0' Keefe LLP
28                                                 1068 Cragmont Avenue
     Case No. CV 12-1326-YGR                        -11-
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 1                                                Berkeley, CA 94708
                                                  (510) 282-0319 (t)
 2
            As to the Tribe be email:             mdwastenot@gmail.com; and
 3                                                scottcrowell@clotag.net

 4

 5          As to the Tribe by mail:              Guidiville Rancheria of California
                                                  P.O. Box 339
 6                                                Talmage, CA 95481
                                                  Attention: Merlene Sanchez, Chairperson
 7                                        and
                                                  Scott Crowell
 8                                                Crowell Law Offices - Tribal Advocacy Group
                                                  1487 W. State Route 89A, Suite 8
 9                                                Sedona, AZ 86336
                                                  (425) 802-5369 (t)
10

11          As to City by email:          agonzalez@mofo.com
                                          aamezcua@mofo.com
12                                 and
                                          Bruce_Goodmiller@ci .richmond. ca. us
13                                        Rachel_Sommovilla@ci. richmond. ca. us

14

15          As to City by mail:           Arturo Gonzalez
                                          Alexis Amezcua
16                                        Morrison & Foerster LLP
                                          425 Market Street
17                                        San Francisco, CA 94105
                                   and
18                                        Bruce Reed Goodmiller
                                          Rachel Sommovilla
19                                        City Attorney's Office
                                          450 Civic Center Plaza
20                                        P.O. Box 4046
                                          Richmond CA 94804-1630
21

22          46.     Any Party may, by written notice to the other Parties, change its designated notice

23   recipient(s) or notice address provided above.

24          47.     Notices submitted pursuant to this Section shall be deemed submitted upon receipt,

25   unless otherwise provided in this Judgment or by agreement of the Parties in writing.

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 1                                  RETENTION OF JURISDICTION
 2          48.     The Court shall retain jurisdiction ove1: this Action to enforce the terms of this
 3   Judgment. To avoid doubt, this Judgment applies to and is binding upon the Tribe and Upstream
 4   and the City, and their respective heirs, successors, assigns and future councils for the City and
 5   the Tribe. Consistent with settled law, any change in the composition of the City Council for the
 6   City shall not alter the City's obligations under this Judgment.
 7          49.     This Judgment embodies the final, complete and exclusive agreement and
 8   understanding among the Parties with respect to the agreement reflected in this Judgment and
 9   supersedes all prior agreements and understandings, whether oral or written, concerning
10   settlement embodied herein. Other than deliverables that are subsequently submitted and
11   approved pursuant to this Judgment (if any), the Parties acknowledge that there are no
12   representations, agreements, or understandings relating to the disposition of the Action other than
13   those expressly contained in this Judgment.
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16         November 21, 2019
     Date: -----------
                                                        YVONNE GONZALEZ ROGERS
17                                                     UNITED STATES DISTRICT JUDGE
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     Case No. CV 12-1326-YGR                         -13-
     [PROPOSED] AMENDED JUDGMENT
     Case 4:12-cv-01326-YGR Document 410 Filed 11/21/19 Page 15 of 20




       FOR THE GUIDIVILLE RANCHERIA OF CALIFORNIA:
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       Dated:                                t:::};:4& Ulb-J    1J   t~t-1,')V-
                                                     MERLE E ANCHEZ 1 _
                                                     Tribal Chairperson ,.-J <"
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 6
                                      As to Form:
 7
                                            CROWELL LAW OFFICES - TRIBAL
 8                                          ADVOCACY GROUP

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10
       Dated:                               By:
11                                                   Scott Crowell
                                                     Attorneys for Plaintiff Guidiville
12                                                   Band of Pomo Indians

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       Case No. CV 12-1326-YGR                -15-
       [PROPOSED I AMENDED JUDGMENT
     Case 4:12-cv-01326-YGR Document 410 Filed 11/21/19 Page 16 of 20




 1   FOR THE GUIDIVILLE RANCHERIA OF CALIFORNIA:

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 3   Dated:
                                                  MERLENE SANCHEZ
 4                                                Tribal Chairperson

 5
 6                                 As to Form:

 7                                       CROWELL LAW OFFICES - TRIBAL
                                         ADVOCACY GROUP
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                                                  (} . C ~
10   Dated: November 7, 2019             By:      k'P-(
                                                  Scott Crowell
11                                                Attorneys for Plaintiff Guidiville
                                                  Band of Pomo Indians
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     Case No. CV 12-1326-YGR               -14-
     [PROPOSED] AMENDED JUDGMENT
     Case 4:12-cv-01326-YGR Document 410 Filed 11/21/19 Page 17 of 20




 1   FOR UPSTREAM POINT MOLATE, LLC:

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              t:YJ   . q cJ_&J/J.
 3   Dated:   / ~       ,      '7
                        •                        .I MES 0. LEVINE
 4                                                 'enernl Manager
                                                 Upstream Point Molate, LLC
 5
 6                                  AS TO FORM:

 7                                       O'KEEFE & O'KEEFE LLP

 8

 9   Dated: - - - - - - - -              By: - - - - - - - - - - - - -
                                              Garet D. O'Keefe
10                                            Attorneys for Plaintiff UPSTREAM
                                              POINT MOLATE LLC
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     Case No. CV 12-1326-YGR              -15-
     [PROPOSED] AMENDED JUDGMENT
     Case 4:12-cv-01326-YGR Document 410 Filed 11/21/19 Page 18 of 20




 1   FOR UPSTREAM POINT MOLATE, LLC:

 2
 3   Dated:
                                                JAMES D. LEVINE
 4                                              General Manager
                                                Upstream Point Molate, LLC
 5
 6                                 AS TO FORM:

 7                                      O'KEEFE & O'KEEFE LLP

 8

 9   Dated: 11/6/19                     By:          ~O+:::-
                                                Garet D. 0 'Keefe
10                                              Attorneys for Plaintiff UPSTREAM
                                                POINT MOLATE LLC
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     Case No. CV 12-1326-YGR             -15-
     [PROPOSED] AMENDED JUDGMENT
     Case 4:12-cv-01326-YGR Document 410 Filed 11/21/19 Page 19 of 20




 1   FOR CITY OF RICHMOND:

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     Dated: November 7, 2019                              /k       (_
 3
                                                    ~ity Manager, City of Richmond
 4
 5                                   AS TO FORM:

 6                                 (y_,iW&,   CITY ATTORNEY FOR CITY OF RICHMOND
                                                                                       ,,_
 7
 8   Dated:                                   By:      /4~
                                                      'llinceR eed ''Goea-milter---,Puhe/ SbNlMM1~
 9                                                     Attorneys for Defendant CITY
                                                       OF RICHMOND
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11                                            MORRISON & FOERSTER LLP

12
13   Dated:                                   By:
                                                       Arturo Gonzalez
14                                                     Attorneys for Defendant CITY
                                                       OF RICHMOND
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     Case No. CV 12-1326-YGR                   -16-
     [PROPOSED] AMENDED JUDGMENT
     Case 4:12-cv-01326-YGR Document 410 Filed 11/21/19 Page 20 of 20




 1   FOR CITY OF RICHMOND:

 2
     Dated:
 3
                                                City Manager, City of Richmond
 4
 5                                 AS TO FORM:

 6                                      CITY ATTORNEY FOR CITY OF RICHMOND

 7
 8   Dated:                             By:
                                                Bruce Reed Goodmiller
 9                                              Attorneys for Defendant CITY
                                                OF RICHMOND
10
11                                      MORRISON & FOERSTER LLP

12
13   Dated: October 23, 2019            By:
                                                Arturo Gonzalez
14                                              Attorneys for Defendant CITY
                                                OF RICHMOND
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     Case No. CV 12-1326-YGR             -16-
     [PROPOSED] AMENDED JUDGMENT
